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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

CARDINAL HEALTH INC.,
Plaintiff,

Civil Action No. l:lZ-cv-185 (RBW)

ERIC HOLDER, JR., ATTORNEY
GENERAL, et al.,

Defendant.

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DECLARATION OF RUTH A. CARTER
I, Ruth A. Carter, pursuant to 28 U.S.C. § 1746, declare and state as follows:

l. I am the Group Supervisor (GS) assigned to the Drug Enforcement
Administration (DEA) Seattle Division Ofi`ice in Seattle, Washington.

2. As part of my duties for DEA, I oversee investigations into alleged violations of
the Controlled Substance Act. l have served in this role since December of 1999.
Prior to my current position, I served as a DEA Diversion Investigator. I have
worked for DEA since 1988.

3. Most recently, I have served as the lead case agent assigned to the investigation of
Cardinal Lakeland. This included an investigation of Cardinal Lakeland’s top
four retail pharmacy customers.

4. The matters contained in this declaration are based upon my personal knowledge,
training, and experience, and upon conclusions and determinations reached by

me. The matters contained in this declaration were part of the record considered

 

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by Joseph Rannazzisi and others at DEA and formed the basis for the
Administrator’s decision to issue the Immediate Suspension Order (“ISO”)
against Cardinal Lakeland.
Individual Investigation Results at Each of Cardinal’s Top Four Retailers
CVS 219:

5. Total Volume: Between November 1, 2008 and December 31, 201 1, Cardinal
sold CVS 219, its top customer, over 5 million dosage units of oxycodone, for an
average of 137,994 dosage units per month. Attachment 2.

6. Cash payments: Between January 1, 2010 and October 18, 2011, 42% of the 30
mg-strength oxycodone prescriptions at CVS 219 were paid for in cash, using no
insurance to pay for the medication. At this particular location, the pharmacy
charged $239 for a prescription for 180 30 mg-strength oxycodone. Had Cardinal
conducted a site visit at CVS 219, it would have learned of the 42% of oxycodone
sales paid in cash, which is an indicator of potential diversion under Cardinal’s
own SOM policy, “Potential Indicators of Diversion,” -- “Primarily cash
transactions for regulated drug prescriptions.” Data from the IMS Institute for
Healthcare Informatics indicates that approximately 6.9% of prescriptions were
paid for in cash in 2010. Attachments 22 and 23.

7. Increases in Volume: Cardinal’S distributions to CVS 219 increased
exponentially between 2008 and 201 1.

a. 2008-2009: Cardinal increased the monthly oxycodone distributions to

CVS by approximately 832% (135,000 to 1,258,600 million dosage units).

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In 2008, the average Florida retail pharmacy customer purchased 18,283
dosage units of oxycodone per year. Attachments 2 and 4.

b. 2009-2010: Cardinal increased the monthly oxycodone distributions to
CVS by approximately 63% (1,258,600 to 2,048,100 million dosage
units). In 2009, the average Florida retail pharmacy customer purchased
1 12,068 dosage units of oxycodone per year. Id.

c. 2011: CVS 219 purchased 1,802,100 million dosage units of oxycodone
from Cardinal. Id.

d. These quantities surpassed the amount of oxycodone purchased by
Cardinal’s own pharmacies, on average, and in the State of Florida.
Attachment 4.

Cardinal Raises Threshold Amounts: Cardinal not only was aware of the
dramatic increase in oxycodone supplies, but it specifically approved it. Between
November 25, 2009 and November 24, 2010, Cardinal adjusted the threshold for
oxycodone sales five times, allowing CVS’s monthly allowance of dosage units to
increase from 112,000 to 319,000 per month. Attachment 24.

a. Cardinal offered little rationale for raising its threshold amounts.
Cardinal Disregards Threshold Amounts: Cardinal also routinely disregarded
the threshold amounts it set for CVS, as demonstrated in Mr. Joseph Rannazzisi’s
Declaration, fn. 1.

Suspicious Order Monitoring: Cardinal’s Electronic Suspicious Order
Monitoring file revealed that, although Cardinal held 68 shipments for further

inquiry, 53 of those shipments were ultimately released. The due diligence file

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contains only a cursory explanation as to why Cardinal released the orders. Most
held orders were released based on a Cardinal employee’s conclusion that the
shipments were “not unreasonable quantity, pattern and/or frequency.” Out of the
15 shipments that Cardinal would not deliver, 11 of them were duplicate orders
and one was not shipped by customer request. At bottom, Cardinal cut shipments
on only 3 orders for reasons other than duplicate ordering or customer request.
Attachment 25. l

Suspicious 0rder Reports to DEA: Prior to receiving the Administrative
Inspection Warrant, Cardinal did not make any suspicious order reports to the
DEA regarding CVS 219. On December 1, 2011, Cardinal reported to DEA two
suspicious orders from CVS 219, well after the service of the Administrative
Inspection Warrant. The reported suspicious orders were placed on November
28, 201 1 for 1000 dosage units of 5 milligram oxycodone hydrochloride tablets
and 4000 dosage units of thirty milligram oxycodone hydrochloride tablets.
Cardinal’s Inadequate Investigation: Despite the high volume of oxycodone
and the exponentially increasing sales, Cardinal investigators never visited CVS
219. Cardinal Lakeland’s failure to conduct a site visit at CVS 219 evidence
Cardinal Lakeland’s failure to “maintain effective controls against diversion,” an
obligation under the Controlled Substances Act (CSA). 21 U.S.C. § 823(b)(1).
What Cardinal Knew or Should Have Known: Had Cardinal conducted
appropriate due diligence, there is reason to believe that it would have known that

sales to CVS 219 posed a risk of diversion for illicit use.

 

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a. Cardinal significantly increased oxycodone distributions to CVS without
adequate due diligence.

b. On September 30, 2010, Cardinal Health QRA Vice President in Anti-
Diversion & Supply Chain Services Michael Moné learned by email that
another Cardinal employee had spoken with CVS corporate regarding
CVS’s oxycodone purchases. CVS responded that “none of [its] stores
show significant growth or shrink issues,” but suggested that Florida’s
efforts to “crack[] down on ‘ pill mills’ . . . is driving more legitimate
traffic to CVS stores.” Attachment 26.

c. Cardinal should have recognized that CVS’s explanation was inadequate.
Just thirteen days before receiving this information, Cardinal increased
CVS 219’s oxycodone monthly threshold by 87,000 dosage units (from
148,000 to 235,000). CVS’s claim that “none of [its] stores” had
significant changes in oxycodone distribution, then, is false-Cardinal’s
own decision to change the allowable threshold proves as much. Further,
CVS cannot justify its increase in sales by arguing that state efforts to shut
down pill mills drove new, legitimate traffic to CVS. A crack down on
pill mills dispensing oxycodone illegitimater would increase both
illegitimate and legitimate oxycodone traffic to CVS stores. Attachment
24.

d. CVS’s inadequate responses to Cardinal inquiries should have prompted
Cardinal to look into the matter further. Instead, Cardinal improperly

relied on CVS’s assurances.

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e. A site visit would have revealed that a significant portion of CVS 219’s

oxycodone customers were not using the drug for legitimate purposes.

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On October 28, 2011, DEA spoke with CVS 219 Pharmacist in
Charge Paras Priyadarshi. Priyadarshi told investigators that 30
mg oxycodone was the pharmacy’s fastest moving controlled
substance. He admitted that the majority of the diagnosis codes
listed by the prescribing practitioners for the oxycodone
prescriptions were the same, indicating potentially illegitimate
prescriptions, which should have raised a red flag to the
pharmacist. Priyadarshi further admitted that customers often
requested certain brands of oxycodone using street slang. He told
investigators that he did not see anything wrong with two
individuals living at the same address receiving the exact
prescriptions for controlled substances from the same practitioner.
While investigators were present at CVS 219, during the AIW on
October 18, 201 1, approximately every third car that came through
the drive-thru lane had prescriptions for oxycodone or
hydrocodone. Priyadarshi knew that his store filled more
oxycodone prescriptions than any other CVS in his district, but he
reported that no one from CVS corporate had said anything to him
about the high volume at his store.

Despite the high volume of oxycodone and exponentially

increasing orders, Cardinal Lakeland never conducted a Site visit

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that examined the store’s practices or procedures, choosing instead
to rely on CVS’s own internal controls. Based on DEA’s review

of Cardinal’s files, Cardinal failed to investigate the practices at

CVS 219.
CVS 5195:
14. Total Volume: From November 1, 2008 through December 31, 2011, CVS 5195

purchased over 2.2 million dosage units of oxycodone from Cardinal Lakeland for
an average of 5 8,223 dosage units per month. Attachment 2.

Cash payments: Between January 1, 2010 and October 18, 2011, 58% of all
oxycodone sales were paid for in cash. Had Cardinal conducted a site visit at
CVS 219, it would have learned of the 58% of oxycodone sales paid in cash,
which is an indicator of potential diversion under Cardinal’s own policy, “On-Site
Investigations” _ “Pharmaceutical Distribution.” Attachment 22. “Potential
Indicators of Diversion,” -- “Primarily cash transactions for regulated drug
prescriptions.” Id. at 7.

Increases in Volume: Cardinal’s distributions to CVS 5195 increased
exponentially between 2008 and 2011.

a. 2008-2009: Cardinal increased the monthly oxycodone distributions to
CVS by approximately 793% (11,700 to 104,500 dosage units). In 2008,
the average Florida retail pharmacy customer purchased 18,283 dosage
units of oxycodone per year. Attachments 2 and 4.

b. 2009-2010: Cardinal increased the monthly oxycodone distributions to

CVS by 748% (104,500 to 885,900 dosage units.). In 2009, the average

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Florida retail pharmacy customer purchased 112,068 dosage units of
oxycodone per year. Ia'.

c. 2011: CVS 5195 purchased over 1,210,400 million dosage units of
oxycodone from Cardinal. Id.

d. These quantities surpassed the amount of oxycodone purchased by
Cardinal’s own pharmacies, on average, and in the State of Florida.
Attachment 4.

17. Cardinal Raises Threshold Amounts: Cardinal not only was aware of the
dramatic increase in oxycodone sales to CVS, but it specifically approved it.
Between August 11, 2010, and November 24, 2010, Cardinal adjusted the
threshold for oxycodone sales four times, allowing CVS’s monthly allowance of
dosage units to increase from 27,000 to 177,700 dosage units. Attachment 27.
Cardinal offered little rationale for raising its threshold amounts.

a. For example, on August 11, 2010, Cardinal increased CVS 5195’s
threshold to 50,000 based on a CVS Loss Prevention Review, concluding
“No Concems with Growth,” based on CVS’ own assessment. The
following month, Cardinal doubled CVS 5195’s threshold to 105,000
dosage units of oxycodone, with a notation of “Adjusted Based on Recent
Purchase - Approved by MAM.” Again, only one month later, Cardinal
adjusted CVS 5195’s threshold upward to 120,000 with a notation of
“Minor Adjustment ~ No Evidence of Diversion,” Cardinal adjusted CVS
5195’s threshold a final time on November 24, 2010 to 177,700 with the

notation “Mass Upload Process.” Ia'. Cardinal’s notations make no note

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of due diligence conducted on site or a questioning of CVS 5195’s need

for the increase in monthly oxycodone levels.
Cardinal Disregards Threshold Amounts: Cardinal also routinely disregarded
the threshold amounts it set for CVS 5195, as demonstrated in Mr. Rannazzisi’s
Declaration, fn. 1.
Suspicious Order Monitoring: Cardinal’s Electronic Suspicious Order
Monitoring file revealed that, although Cardinal held 22 shipments for further
inquiry, all of those shipments were ultimately released. The due diligence file
contains only a cursory explanation as to why Cardinal released the orders. Most
held orders were released based on a Cardinal employee’s conclusion that the
shipments were “not unreasonable quantity, pattern and/or frequency.”
Attachment 28.
Suspicious Order Reports to DEA: Cardinal did not make any suspicious order
reports to the DEA regarding CVS 5195.
Cardinal’s Inadequate Investigation: Despite the high volume of oxycodone
and the exponentially increasing sales, Cardinal investigators never conducted an
official site visit of CVS 5195. The only visit that Cardinal made to CVS 5195
was to take a picture of the exterior on a Sunday aftemoon. Cardinal Lakeland’s
failure to conduct a site visit at CVS 5195 evidence Cardinal Lakeland’s failure to
“maintain effective controls against diversion,” an obligation under the CSA. 21

U.s.C. § 823(b)(1).

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22. What Cardinal Knew or Should Have Known: Had Cardinal conducted
appropriate due diligence, there is reason to believe that it would have known that
sales to CVS 5195 posed a risk of diversion for illicit use.

a. A site visit would have revealed that a significant portion of CVS 219’s
oxycodone customers were not using the drug for legitimate purposes.

b. While executing the AIW, DEA spoke with CVS 5195 Pharmacist in
Charge Jessica Merrill. Merrill explained that she set a daily limit on the
number of oxycodone 30 milligram prescriptions the pharmacy would fill
each day. She put the limit in place because, among other reasons, she
wanted to ensure that the pharmacy had enough oxycodone 30 milligram
to fill the prescriptions for “real pain patients.”

c. Merrill described the pharmacy’s oxycodone customers as “shady” and
admitted that some of the prescriptions were probably not legitimate

d. Despite the high volume of oxycodone and exponentially increasing
orders, Cardinal Lakeland never conducted a site visit that examined the
store’s practices or procedures, choosing instead to rely on CVS’s own
internal controls. Based on DEA’s review of Cardinal’s files, Cardinal
failed to investigate the practices at CVS 5195.

Gulf Coast Pharmacy:

23. Total Volume: Between January 1, 2008 and September 30, 201 l, Cardinal sold
Gulf Coast Pharmacy, its second largest customer, approximately 3.4 million
dosage units of oxycodone, for an average of 96,644 dosage units per month

during this time period. Attachment 2.

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24. Cash payments: As of April 30, 2009, based on the pharmacy owner’s own
response in a QRA site visit, 40% of oxycodone purchases were paid for in cash,
On December 11, 2009, based on the pharmacy’s owner’s own response in a
QRA site visit, 30% of oxycodone purchases were paid for in cash.

25. Increases in Volume Cardinal’s distributions to Gulf Coast increased
exponentially between 2008 and 2010.

a. 2008-2009: Cardinal increased the monthly oxycodone distributions to
Gulf Coast by 549% (32,820 to 213,100 dosage units). In 2008, the
average Florida retail pharmacy customer purchased 18,283 dosage units
of oxycodone per year. Attachments 2 and 4.

b. 2009-2010: Cardinal increased the monthly oxycodone distributions to
GulfCoast by 404% (213,100 to 1,073,540 dosage units). In 2009, the
average Florida retail pharmacy customer purchased .l 12,068 dosage units
of oxycodone per year. Id.

c. 2011: Gulf Coast purchased over 2,063,100 million dosage units of
oxycodone from Cardinal. Ia'.

d. These quantities surpassed the amount of oxycodone purchased by
Cardinal’s own pharrnacies, on average, and in the State of Florida.
Attachment 4.

26. Cardinal Raises Threshold Amounts: Cardinal not only was aware of the
dramatic increase in oxycodone supplies, but it specifically approved it.
According to the data Cardinal provided to DEA, Between April l3, 2009 and

May 26, 2010, Cardinal adjusted the threshold for oxycodone sales eleven (1 l)

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times. The net increase of these adjustments was, over the course of
approximately 13 months, to raise Gulf Coast’s monthly allowance of dosage
units to increase from 20,000 to 317,400. Cardinal offered little rationale for
raising its threshold amounts. Attachment 29.

Cardinal Disregards Threshold Amounts: Cardinal also routinely disregarded
the threshold amounts it set for Gulf Coast, as demonstrated in Mr. Rannazzisi’s
Declaration, fn. l, above.

Suspicious Order Monitoring: Cardinal’s Electronic Suspicious Order
Monitoring file revealed that, although Cardinal held 61 shipments for further
inquiry, 52 of those shipments were ultimately released. The due diligence file
contains only a cursory explanation as to why Cardinal released the orders. Most
held orders were released based on a Cardinal employee’s conclusion that the
shipments were “not unreasonable quantity, pattern and/or frequency.” Of the 9
orders Cardinal did not ship, four were duplicate orders, Of the five remaining
orders, the customer file Cardinal provided to DEA did not contain any
information regarding why Cardinal did not fill these orders. Attachment 30.
Suspicious Order Reports to DEA: Cardinal did not make any suspicious order
reports to the DEA regarding Gulf Coast, including with respect to the five non-
duplicate orders it did not fill for Gulf Coast, occurring on April 14, 2009,
September 21, 2009, December 3, 2009, August 27, 2010, and October 4, 2011.
Id.

Visits to Gulf Coast: Based on information Cardinal provided to DEA in

response to the administrative warrant dated October 25, 2011, Cardinal

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conducted five QRA site visits between August 28, 2008 and February 17, 2011.
Vincent Mollering, an employee of Cardinal in its Quality and Regulatory Affairs
Department, conducted four of the visits; and Steve Morse, an employee of
Cardinal in its Quality and Regulatory Affairs Department, conducted the fifth
visit. Information Cardinal provided to DEA reflects the following about those
visits:

a. On August 12, 2008, Mr. Moellering conducted a site visit wherein he
noted that the site was a “Low risk of Diversion,” Attachment 31.

b. On April 30, 2009, Mr. Moellering conducted a second site visit wherein
he noted: “Owner states higher cash sales due to loss of insurance by
customers; Reported hearsay from individuals claiming that this pharmacy
would only accept cash for oxycodone and sold by the pill; Twice during
the interview, I specifically asked Mr. Green how most of the customers
paid for pain medications He related some had insurance while others
have to pay cash due to losing their insurance. He would not say anything
about charging by the pill or only accepting cash.” Attachment 32.

c. On December 11, 2009, Mr. Moellering conducted a third site visit. He
noted as per this particular visit: “Does not represent significant risk for
diversion.” Attachment 33.

d. On October 5, 2010, Mr. Moellering and Mr. Moro conducted a site visit.
The notes from this particular site visit reflected the following: “CAH,
PBC, Lenny Moro, has observed groups of white males and females,

corning into the pharmacy during his late afternoon visits, to have their

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scripts filled; they leave in small groups.” The report further stated:
“Owner requested increase his oxycodone threshold even higher -
dispensing data revealed that 462,776 units of oxycodone dispensed within
two months.” “I am not convinced that the owner is being forthright
pertaining to his customers’ origin or residence. I have requested
permission to contact DEA to resolve this issue.” “High Risk of
Diversion.” Attachment 34.

e. Despite Mr. Moellering’s findings and recommendations, Cardinal
Lakeland did not contact DEA, Cardinal not only continued to ship
oxycodone 30 milligram tablets to Gulf Coast, but substantially increased
shipments to Gulf Coast shortly afterwards On November 24, 2010,
Cardinal adjusted monthly volumes of oxycodone to Gulf Coast from
141 ,000 to 207,200. Attachment 29.

f. With respect to Mr. Moellering’s October 5, 2010 findings, the PDF
customer file Cardinal provided to DEA contained the following
notations: On October 29, 2010, Cardinal stated: “Reviewed, no
changes.” On the same date, regarding a SOM oxycodone event of
144,700 for October 2010, Cardinal released the shipment, stating: “Not
unreasonable, order released, no threshold adjustment.” Attachment 35.
By releasing this shipment of 144,700, Cardinal appears to have filled an
order that exceeded the monthly volume limit for oxycodone (141,000)

then in effect for Gulf Coast that Cardinal itself established.

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g. On November 9, 2010, Mr. Morse wrote a memorandum to the file, which
stated: “The primary prescribers identified by the pharmacy owner are
local, one exception being an orthopedic surgeon. Not unreasonable.”
The file further reflected: “Pharrnacy is medium risk and subject to close
monitoring.” On January 28, 2011, Gulf Coast owner, Jeff Green,
provided a survey response which stated the limit needs to be raised to 450
bottles per week. Attachments 36 and 37.

h. On February 17, 2011, Mr.Morse conducted the fifth site visit to Gulf
Coast, wherein he noted: “Medium Risk for Diversion.” Attachment 38.
Nonetheless, Cardinal increased Gulf Coast’s order threshold 3 times in
the following four months The date and amount of the adjustments were:

i. April 26, 2011: 207,200 to 245,000
ii. April 27, 2011: 245,000 to 265,000
iii. May 26, 2011: 265,000 to 317,000
Attachment 29.
i. These increases constituted a 65% increase in Cardinal’s authorized
shipment volumes of oxycodone over a two month period.
31. On October 5, 2011, Cardinal suspended its distributions to Gulf Coast.
32. On November 4, 2011, Gulf Coast voluntarily surrendered its DEA registration
for cause.
Caremed:
33. Total Volume: Between January 1, 2008 and September 30, 2011, Cardinal sold

Caremed Health Corporation (d/b/a Brooks Pharmacy), itS fourth largest

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customer, approximately 2.1 million dosage units of oxycodone, for an average of
approximately 59,264 dosage units per month during this time period.
Attachment 2.

34. Cash payments: As of September 21, 2011, Cardinal reported that 40% of 30
mg-strength oxycodone prescriptions at Caremed were paid for in cash.

35. Increases in Volume:

a. 2008-2009: Cardinal increased the monthly oxycodone distributions to
Caremed by 1020% (20,700 to 231,740 dosage units). In 2008, the
average Florida retail pharmacy customer purchased 18,283 dosage units
of oxycodone per year. Attachments 2 and 4.

b. 2009-2010: Cardinal increased the monthly oxycodone distributions to
Caremed by 213% (231,740 to 724,500 dosage units). In 2009, the
average Florida retail pharmacy customer purchased 1 12,068 dosage units
of oxycodone per year. Id.

c. 2011: Caremed purchased approximately 1.1 million dosage units of
oxycodone from Cardinal. Ia’.

d. These quantities surpassed the amount of oxycodone purchased by
Cardinal’s own pharmacies, on average, and in the State of Florida.
Attachment 4.

36. Cardinal Raises Threshold Amounts: Cardinal not only was aware of the
dramatic increase in oxycodone supplies, but it specifically approved it.
According to the data Cardinal provided to DEA in response to the administrative

subpoena, between April 14, 2010 and May 26, 2011, Cardinal adjusted the

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threshold for oxycodone sales nine (9) times The net increase of these
adjustments was, over the course of approximately 13 months, to raise Gulf
Coast’s monthly allowance of dosage units from 26,000 to 158,300, an increase of
approximately 609%. Attachment 39.

a. Based on information Cardinal provided to DEA, Cardinal made these
threshold increases despite having actual knowledge that Caremed
obtained controlled substances from other distributors besides Cardinal,
and had done so since 2008, On November 18, 2008, Caremed’s owner,
Roscoe Heim, stated on a Survey Response that he used the following
distributors: Cardinal, API, Expert Med, Spectrum, PCCA, Hawkins, and
Masters. On March 29, 2010, Mr. Heim sent a letter to Cardinal’s
representative, Steve Morse, which stated that Cardinal and API were his
primary sources for controlled substances On April 15, 2010, Cardinal’s
representative, Chris Forst, acknowledged via e-mail that he was aware
that Caremed had another distributor. Attachment 40.

37. Cardinal Disregards Threshold Amounts. Cardinal also routinely disregarded
the threshold amounts it set for Caremed, as demonstrated in Mr. Rannazzisi’s
Declaration, fn. l.

38. Suspicious Order Monitoring: Cardinal’s Electronic Suspicious Order
Monitoring file revealed that, although Cardinal held 54 shipments for Caremed
for further inquiry, 47 of those shipments (88%) were ultimately released. The
due diligence file contains only a cursory explanation as to why Cardinal released

the orders Most held orders were released based on a Cardinal employee’s

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conclusion that the shipments were “not unreasonable quantity, pattern and/or
frequency.” Of the 7 orders Cardinal did not ship, 3 were duplicate orders Of
the 4 remaining orders, the customer file Cardinal provided to DEA indicated that
Cardinal did not fill these orders because “the data did not support the quantity
ordered.” Attachment 41.

Suspicious Order Reports to DEA: Cardinal did not make any suspicious order
reports to the DEA regarding Caremed, including with respect to the four non-
duplicate orders it did not fill for Caremed.

Cardinal Site Visits to Caremed: Based on information Cardinal provided to
DEA in response to the administrative warrant dated October 26, 2011, Cardinal
employee Vincent Mollering conducted three QRA site visits between May 4,
2010 and September 21, 201 1, Information Cardinal provided to DEA reflects the
following about those visits:

a. On May 4, 2010: Mr. Moellering conducted a site visit wherein he noted
that the site was a “low risk of diversion.” Attachment 42.

b. On January 13, 2011: Mr. Moellering conducted a second site visit
wherein he noted: “high oxycodone totals, which were properly
explained/Recommend threshold levels be held at previous month’s
levels” Attachment 43.

c. Notwithstanding Mr. Mollering’s recommendation to hold oxycodone
shipments to Caremed at their current volume, Cardinal increased
Caremed’s order threshold 2 times in the following four months The date

and amount of the adjustments were:

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i. February 9, 2011: 90,001 to 124,000
ii. May 26, 2011: 124,000 to 158,300
Attachment 39.

d. These increases constituted a 57% increase in Cardinal’s authorized
shipment volumes of oxycodone over a four month period.

e. On September 21, 2011, Mr. Moellering conducted a third site visit. After
this visit, Mr. Mollering revised his risk assessment to a “high risk of
diversion.” Attachment 44.

f. On September 21, 2011, Respondent suspended its distributions to
Caremed.

g. On October 18 2011, Caremed voluntarily surrendered its DEA
registration for cause.

DEA Issues Immediate Suspension Order for Cardinal Lakeland

41. Based on the DEA’s review of Cardinal’s files, along with ARCOS data and the
information gathered during inspections of Cardinal Lakeland, CVS 219, CVS
5135, Gulf Coast, and Caremed, DEA concluded that “Cardinal failed to conduct
meaningful due diligence to ensure that the controlled substances were not
diverted into other than legitimate channels, including Cardinal’s failure to
conduct due diligence of its retail pharmacy chain customers.” Attachment 15, at
3.

I declare under penalty of perjury that the foregoing is true and correct.

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RUTH A. CARTER

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